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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                       :
In re                                                  :       Chapter 11
                                                       :
TK HOLDINGS INC., et al.,                              :       Case No. 17-11375 (BLS)
                                                       :
                  Debtors.1                            :       Jointly Administered
                                                       :
------------------------------------------------------x

           CERTIFICATION OF COUNSEL REGARDING ORDER APPROVING
          STIPULATION BETWEEN JOSEPH J. FARNAN, JR., AS TRUSTEE OF
           THE REORGANIZED TK HOLDINGS TRUST, AND CLAIMANT SGS
             NORTH AMERICA INC. F/K/A U.S. TESTING COMPANY, INC.
                   REGARDING CLAIMANT’S PROOF OF CLAIM

       The undersigned hereby certifies as follows:

                  1.       On June 25, 2017, each of the above-captioned debtors (collectively, the

“Debtors”) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

                  2.       On February 21, 2018, the Court entered an order [Docket No. 2120]

confirming the Fifth Amended Joint Chapter 11 Plan of Reorganization of TK Holdings and its

Affiliated Debtors [Docket No. 2116] (the “Plan”).

                  3.       The Reorganized TK Holdings Trust (the “Trust”) was established

pursuant to the Plan, and Joseph J. Farnan, Jr. was appointed Trustee of the Trust.

                  4.       On November 16, 2017, SGS North America Inc. f/k/a SGS U.S. Testing

Company, Inc. (the “SGS”), filed proof of claim number 2739 (the “SGS Claim”).

                  5.       The Trustee and SGS have agreed to resolve all issues with respect to the

Claim pursuant to the terms of the Stipulation Among Joseph J. Farnan, Jr., as Trustee of the

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.
                                                                                                          Docket 4230
                                                                                                          Filed 10-16-20
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Reorganized TK Holdings Trust, and Claimant SGS North America Inc. f/k/a SGS U.S. Testing

Company, Inc. Regarding Claimant’s Proof of Claim (the “Stipulation”).

                 6.         A proposed form of order (the “Proposed Order”) approving the

Stipulation is attached hereto. The Stipulation is attached as Exhibit A to the Proposed Order.

                 WHEREFORE, the Trustee respectfully requests that the Court enter the

Proposed Order at its earliest convenience.

Dated: October 16, 2020                         PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Peter J. Keane
                                                Laura Davis Jones (Bar No. 2436)
                                                David M. Bertenthal (CA Bar No. 167624)
                                                Peter J. Keane (Bar No. 5503)
                                                919 N. Market Street, 17th Floor
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                                                Attorneys for the Trustee of the Reorganized TK
                                                Holdings Trust




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------x
                                                       :
In re                                                  :       Chapter 11
                                                       :
TK HOLDINGS INC., et al.,                              :       Case No. 17-11375 (BLS)
                                                       :
                  Debtors.1                            :       Jointly Administered
                                                       :
                                                       :       Re: Docket No. ___
                                                       :
------------------------------------------------------x

                              ORDER APPROVING
            STIPULATION BETWEEN JOSEPH J. FARNAN, JR., AS TRUSTEE OF
             THE REORGANIZED TK HOLDINGS TRUST, AND CLAIMANT SGS
               NORTH AMERICA INC. F/K/A U.S. TESTING COMPANY, INC.
                         REGARDING CLAIMANT’S CLAIM

                    Upon consideration of the Stipulation Between Joseph J. Farnan, Jr., as Trustee

of the Reorganized TK Holdings Trust, and Claimant SGS North America Inc. f/k/a SGS U.S.

Testing Company, Inc. Regarding Claimant’s Proof of Claim (the “Stipulation”),2 a copy of

which is attached to this Order as Exhibit A, as agreed to by and between Joseph J. Farnan, Jr.,

as Trustee of the Reorganized TK Holdings Trust (the “Trust”) and SGS North America Inc.

f/k/a SGS U.S. Testing Company, Inc. (“SGS” and together with the Trustee, the “Parties”); IT

IS HEREBY ORDERED THAT:

                    1.       The Stipulation is approved.

                    2.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.
2
    Capitalized terms not otherwise defined herein shall have the meaning given to them in the Stipulation.
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                 3.         The Trust and its claims and noticing agent, Prime Clerk LLC, and the

Clerk of this Court are authorized to take all steps necessary or appropriate to carry out this

Order.

                 4.         This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.




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                                     EXHIBIT A




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------x
                                                       :
In re                                                  :       Chapter 11
                                                       :
TK HOLDINGS INC., et al.,                              :       Case No. 17-11375 (BLS)
                                                       :
                  Debtors.1                            :       Jointly Administered
                                                       :
------------------------------------------------------x

          STIPULATION BETWEEN JOSEPH J. FARNAN, JR., AS TRUSTEE OF
            THE REORGANIZED TK HOLDINGS TRUST, AND SGS NORTH
              AMERICA INC. F/K/A SGS U.S. TESTING COMPANY, INC.
                  REGARDING CLAIMANT’S PROOF OF CLAIM

                  Joseph J. Farnan, Jr., as Trustee of the Reorganized TK Holdings Trust (the

“Trust”) and SGS North America Inc. f/k/a SGS U.S. Testing Company, Inc. (“SGS” and

together with the Trustee, the “Parties”) hereby stipulate and agree (the “Stipulation”) as follows

in accordance with the following facts and recitals:

                                                   RECITALS

                  A.        On November 24, 2009, SGS commenced an action in the United States

District Court for the District of New Jersey against TK Holdings, Inc. and others captioned SGS

U.S. Testing Company, Inc. v. Takata Corporation, et. al, Case No. 2:09-cv-06007 (the

“Action”).

                  B.        In the Action, SGS asserted indemnity and related claims pursuant to

which SGS sought to recover attorneys’ fees, legal expenses, costs of suit, and all other litigation


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.



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expenses arising from several specified lawsuits where SGS was allegedly entitled to defense

and indemnification from the Debtor.

                 C.         On June 25, 2017, each of the above-captioned debtors (collectively, the

“Debtors”) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

                 D.         On February 21, 2018, the Court entered an order [Docket No. 2120]

confirming the Fifth Amended Joint Chapter 11 Plan of Reorganization of TK Holdings and its

Affiliated Debtors [Docket No. 2116] (the “Plan”).

                 E.         The Trust was established pursuant to the Plan, and Joseph J. Farnan, Jr.

was appointed Trustee of the Trust.

                 F.         On November 16, 2017, SGS filed proof of claim number 2739 (the “SGS

Claim”). The SGS Claim was asserted as a general unsecured, non-priority claim in the amount

of $6,429,148 and was based on the allegations and causes of action asserted in the Action.

                 G.         The Trustee and the SGS have agreed to resolve all issues with respect to

the SGS Claim pursuant to the terms of this stipulation (the “Stipulation”).

                 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED in

consideration of the mutual promises contained in this Stipulation, and for other good and

valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and each

of the Parties intending to be legally bound by this Stipulation as follows:

                 1.         The Recitals set forth above are hereby incorporated in full and made a

part of this Stipulation.

                 2.         The SGS Claim shall be allowed as a general unsecured, non-priority

claim in the amount of $2,000,000.00 (two million dollars and no cents) and SGS shall be




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entitled to receive distributions from the Trust on account of such allowed claims at the same

time(s) and in the same manner as similarly situated creditors.

                 3.         Unless otherwise provided for herein, the Parties agree that the terms of

the Stipulation shall become effective upon occurrence of both the (i) execution of this

Stipulation by the Parties and (ii) entry of an order by the Court approving this Stipulation (the

“Stipulation Effective Date”).

                 4.         Promptly after execution of this Stipulation by the Parties, the Trustee

shall submit it to the Court for approval and this Stipulation shall be included as an exhibit to any

order of the Court approving this Stipulation.

                 5.         Within ten (10) days after the Stipulation Effective Date, SGS shall take

all steps necessary to dismiss the Action as against TK Holdings, Inc. (and any successor,

including the Debtor’s estate and the Trust) with prejudice.

                 6.         Each of the Parties shall be responsible for its respective costs and

expenses (including, without limitation, attorneys’ fees) incurred by it in negotiating, drafting,

and executing this Stipulation, and shall not be responsible for the payment of any such fees or

costs incurred by any other Party hereto.

                 7.         Each of the Parties to this Stipulation warrants and represents that the facts

set forth herein are true and correct and that it has the power and authority to execute, deliver,

and perform the respective obligations under this Stipulation.

                 8.         This Stipulation contains the entire agreement among the Parties relating

to the subject matter hereof and can only be amended or otherwise modified by a signed writing

executed by the Parties.

                 9.         If this Stipulation is not approved by the Court, then the Stipulation shall



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be null and void and of no force or effect. In such event, each of the Parties shall be returned to

the Parties’ position status quo ante, and the Parties reserve all of their respective rights, claims,

and defenses with respect to all of the matters set forth herein.

                 10.        This Stipulation may be executed in multiple counterparts, any of which

may be transmitted by facsimile or electronic (e-mail) transmission, and each of which shall be

deemed an original, but all of which together shall constitute one and the same instrument, and it

shall constitute sufficient proof of this Stipulation to present any copy, copies, or facsimiles

signed by the parties hereto to be charged.



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                                            FOR SGS NORTH AMERICA INC.F/K/A
                                            SGS U.S. TESTING COMPANY, INC.:

                                            FLORIO PERRUCCI STEINHARDT &
                                            FADER LLC


                                            /s/ Brian Tipton____________________
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                                            (908) 454-8300
                                            E-mail: btipton@floriolaw.com

                                            Attorneys for SGS North America Inc. f/k/a U.S.
                                            Testing Company, Inc.

                                            FOR THE TRUSTEE OF THE
                                            REORGANIZED TK HOLDINGS TRUST:

                                            PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Peter J. Keane_________________
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                                            Holdings Trust




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Miscellaneous:

17-11375-BLS TK Holdings Inc.
Type: bk                            Chapter: 11 v                   Office: 1 (Delaware)
 Assets: y                       Judge: BLS
 Case Flag: SealedDoc(s), MEGA, CLMSAGNT, LEAD, CONFIRMED, STANDOrder

                                                                   U.S. Bankruptcy Court

                                                                    District of Delaware

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Case Name:             TK Holdings Inc.
Case Number:           17-11375-BLS
Document Number: 4230

Docket Text:
Certification of Counsel Regarding Order Approving Stipulation Between Joseph J. Farnan, Jr., as Trustee of the Reorganized TK Holdings Trust, and Claimant
SGS North America Inc. f/k/a SGS U.S. Testing Company, Inc. Regarding Claimants Proof of Claim Filed by Joseph J. Farnan, Jr., as Trustee of the Reorganized
           
TK
 Holdings
              Trust. (Attachments: # (1) Proposed Form of Order) (Keane, Peter)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:COC re Stip.pdf
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[STAMP bkecfStamp_ID=983460418 [Date=10/16/2020] [FileNumber=16680470-
0] [379beec6f124ea965bec0d1ac72471a108a9699e982013c8295857cfb9ab7e1fa9
b6bfea4bf2a2eebd7f1308ccd81b30d86fa65b0fac38781c2147da3b5fbe4d]]
Document description:Proposed Form of Order
Original filename:C:\fakepath\ORDER - SGS_Stipulation_of_Settlement.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=10/16/2020] [FileNumber=16680470-
1] [20919dd6b715bcfcae880eb698c958f54f50092bfdcdcf4b50f784eb54f17cb2a0
7fb98a1cc8547fef5ef6082f25629c23595f331dafeb7e75c9818d47320971]]

17-11375-BLS Notice will be electronically mailed to:

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Derek C. Abbott on behalf of Creditor BMW Manufacturing Co., LLC
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Order type: Ex Parte (No Hearing Required)
17-11375-BLS TK Holdings Inc.

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